        Case 2:09-cr-00335-RSL           Document 119       Filed 06/11/10      Page 1 of 3

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8                                                                         Chief Judge LASNIK
9

10                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
11                                   AT SEATTLE

12   UNITED STATES OF AMERICA,                     )      NO. CR 09-0335 RSL
                                                   )
13                          Plaintiff,             )
14          v.                                     )      AGREED ORDER FOR
                                                   )      COMPETENCY EVALUATION
15   JAY RAMOS,                                    )      OF JAY RAMOS
                            Defendant              )
16

17
            This matter having come before the court upon the motion of the defendant for an
18
     order seeking a mental-health evaluation of defendant, the court being satisfied there is
19
     reasonable cause to believe the motion is appropriate in that the examination would assist
20
     the court in determining defendant's competence to proceed with trial and, if convicted,
21

22   the sentence to be imposed, and further assist the Bureau of Prisons in determining the

23   conditions of confinement;
24          IT IS HEREBY ORDERED, pursuant to 18 U.S.C. §§4241 and 4247 (b), that
25
     defendant be committed to the custody of the Attorney General at a suitable facility for a
26
     period not to exceed 30 days and be examined during that time by a psychiatrist and/or
27


     AGREED ORDER FOR                                                 TERRENCE KELLOGG
     COMPETENCY EVALUATION OF RAMOS - 1                                  P.O. Box 70819
                                                                   SEATTLE, WASHINGTON 98127
                                                                          (206) 781-8181
         Case 2:09-cr-00335-RSL          Document 119         Filed 06/11/10      Page 2 of 3

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2    psychologist chosen by the Attorney General who shall conduct a mental health
3    examination, including but not limited to a neuropsychological examination, to determine
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     the status of the defendant's mental health;
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               IT IS FURTHER ORDERED that the defendant shall cooperate with the
6
     psychiatrist and/or psychologist during this examination
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8              IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 4247 (c), that the

9    examining psychiatrist and/or psychologist prepare a report of their examination and file

10   that report with the court and provide copies to counsel for the defendant and the United
11
     States;
12
               IT IS FURTHER ORDERED that, if possible, this mental-health examination
13
     should be conducted at the Federal Detention Center at SeaTac. If it is not possible to
14
     conduct a mental health examination at FDC SeaTac, the United States Marshals Service
15

16   is directed to transport the defendant to a suitable facility within 10 days of the entry of

17   this order and return the defendant to the Federal Detention Center - SeaTac within 10
18   days of the completion of the examination ordered herein;
19
     IT IS FURTHER ORDERED, pursuant to 18 USC § 3161 (h) (1) (A), that the time
20
     required to perform the examination of defendant be excluded in computing the time
21
     /
22

23   /

24   /

25   /
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     AGREED ORDER FOR                                                   TERRENCE KELLOGG
     COMPETENCY EVALUATION OF RAMOS - 2                                    P.O. Box 70819
                                                                     SEATTLE, WASHINGTON 98127
                                                                            (206) 781-8181
        Case 2:09-cr-00335-RSL         Document 119        Filed 06/11/10    Page 3 of 3

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2    within which the trial in this case must commence.
3           DONE this 11th day of June, 2010.
4

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6
                                                          A
                                                          Robert S. Lasnik
7                                                         United States District Judge

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12   Approved For Entry; Notice Waived:
     Jenny A. Durkin, United States Attorney, by
13

14
     s/ Douglas Whalley by T. Kellogg with authorization
15   Douglas Whalley, Assistant United States Attorney

16

17   Presented by:
18

19    s/ Terrence Kellogg
     Terrence Kellogg,
20   Attorney for Ramos
     WA. State Bar # 6452
21   P.O. Box 70819
     Seattle, WA. 98127
22
     Telephone: (206) 781-818
23   E-Mail: terrykellogg@comcast.net

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     AGREED ORDER FOR                                                TERRENCE KELLOGG
     COMPETENCY EVALUATION OF RAMOS - 3                                 P.O. Box 70819
                                                                  SEATTLE, WASHINGTON 98127
                                                                         (206) 781-8181
